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                            Exhibit 5

                    Declaration of B. Williamson
                Defense Exhibit 4, August 28 Hearing
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